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STATISTICAL INFORMATION ONLY: Debtor must select the number of each of the following items included in the Plan.

     0     Valuation of Security       0        Assumption of Executory Contract or Unexpired Lease         0    Lien Avoidance

                                                                                                Last Revised: August 1, 2020

                                                UNITED STATES BANKRUPTCY COURT
                                                     DISTRICT OF NEW JERSEY

     In Re: Jack H. Sandau                                                Case No.:             22-12500_____
                                                                          Judge:                VFP__________

                        Debtor(s)

                                                    Chapter 13 Plan and Motions

         Original                               ⁭ Modified/Notice Required                   Date: 08/09/2022

         Motions Included                         Modified/ No Notice Required

                                           THE DEBTOR HAS FILED FOR RELIEF UNDER
                                            CHAPTER 13 OF THE BANKRUPTCY CODE.

                                                  YOUR RIGHTS MAY BE AFFECTED.

     You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which contains
     the date of the confirmation hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed
     by the Debtor to adjust debts. You should read these papers carefully and discuss them with your attorney. Anyone
     who wishes to oppose any provision of this Plan or any motion included in it must file a written objection within the
     time frame stated in the Notice. Your rights may be affected by this plan. Your claim may be reduced, modified, or
     eliminated. This Plan may be confirmed and become binding, and included motions may be granted without further
     notice or hearing, unless written objection is filed before the deadline stated in the Notice. The Court may confirm
     this plan, if there are no timely filed objections, without further notice. See Bankruptcy Rule 3015. If this plan includes
     motions to avoid or modify a lien, the lien avoidance or modification may take place solely within the chapter 13
     confirmation process. The plan confirmation order alone will avoid or modify the lien. The debtor need not file a
     separate motion or adversary proceeding to avoid or modify a lien based on value of the collateral or to reduce the
     interest rate. An affected lien creditor who wishes to contest said treatment must file a timely objection and appear
     at the confirmation hearing to prosecute same.

The following matters may be of particular importance. Debtors must check one box on each line to state whether the plan
includes each of the following items. If an item is checked as “Does Not” or if both boxes are checked, the provision will be
ineffective if set out later in the plan.

     THIS PLAN:

       DOES             DOES NOT CONTAIN NON-STANDARD PROVISIONS. NON-STANDARD PROVISIONS
     MUST ALSO BE SET FORTH IN PART 10.

        DOES            DOES NOT LIMIT THE AOUNT OF A SECURED CLAIM BASED SOLELY ON VALUE OF
     COLLATERAL, WHICH MAY RESULT IN A PARTIAL PAYMENT OR NO PAYMENT AT ALL TO THE SECURED
     CREDITOR. SEE MOTIONS SET FORTH IN PART 7, IF ANY.

        DOES             DOES NOT AVOID A JUDICIAL LIEN OR NONPOSSESSORY, NONPURCHASE-MONEY
     SECURITY INTEREST.SEE MOTIONS SET FORTH IN PART 7, IF ANY.

     Initial Debtor(s)’ Attorney: __/s/DGS___          Initial Debtor: /s/JS______   Initial Co-Debtor: ______
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 Part 1: Payment and Length of Plan

    a. The debtor shall pay $300.00 per month to the Chapter 13 Trustee, starting on
    April 1, 2022 for approximately 36 months.

    b. The debtor shall make plan payments to the Trustee from the following sources:
            Future earnings

           Other sources of funding (describe source, amount and date when funds are available):




   c. Use of real property to satisfy plan obligations:
         Sale of real property
         Description:
         Proposed date for completion: _______________________

        Refinance of real property:
        Description:
        Proposed date for completion: _______________________

        Loan modification with respect to mortgage encumbering property:
        Description:
        Proposed date for completion: __________________

   d.   The regular monthly mortgage payment will continue pending the sale, refinance or loan modification.

   e.   Other information that may be important relating to the payment and length of plan:
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Part 2: Adequate Protection         NONE
     a. Adequate protection payments will be made in the amount of $ _______________ to be paid to the Chapter
13 Trustee and disbursed pre-confirmation to ______________________________ (creditor).
     b. Adequate protection payments will be made in the amount of $ _______________ to be paid directly by the
debtor(s) outside the Plan, pre-confirmation to: __________________________ (creditor).




Part 3: Priority Claims (Including Administrative Expenses)
a. All allowed priority claims will be paid in full unless the creditor agrees otherwise:
Creditor                            Type of Priority                              Amount to be Paid
CHAPTER 13 STANDING                              ADMINISTRATIVE                    AS ALLOWED BY STATUTE
TRUSTEE


ATTORNEY FEE BALANCE                         ADMINISTRATIVE                  BALANCE DUE: $6,468.22 unless a
                                                                             different amount is ordered by this
                                                                             court. The amount to be paid will then
                                                                             be governed by Order of this Court.


DOMESTIC SUPPORT
OBLIGATION




b. Domestic Support Obligations assigned or owed to a governmental unit and paid less than full amount:
   Check one:
     None

     The allowed priority claims listed below are based on a domestic support obligation that has been assigned
     to or is owed to a governmental unit and will be paid less than the full amount of the claim pursuant to 11
     U.S.C.1322(a)(4):

Creditor                                 Type of Priority                    Claim Amount        Amount to be Paid
                                         Domestic Support Obligations
                                         assigned or owed to a
                                         governmental unit and paid less
                                         than full amount:
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Part 4: Secured Claims          NONE
   a. Curing Default and Maintaining Payments on Principal Residence:             NONE
   The Debtor will pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations and
   the debtor shall pay directly to the creditor (outside the Plan) monthly obligations due after the bankruptcy filing as
follows:
Creditor         Collateral or       Arrearage           Interest Rate on     Amount to be         Regular Monthly
                 Type of Debt                            Arrearage            Paid to Creditor     Payment
                                                                              (in Plan)            (Outside Plan)




b. Curing and Maintaining Payments on Non-Principal Residence & other loans or rent arrears: NONE
 The Debtor will pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations and the
debtor will pay directly to the creditor (outside the Plan) monthly obligations due after the bankruptcy filing as
follows:
Creditor             Collateral or Type Arrearage              Interest Rate on    Amount to be        Regular Monthly
                     of Debt                                   Arrearage           Paid to Creditor    Payment
                                                                                   (In Plan)           (Outside Plan)




c. Secured claims excluded from 11 U.S.C. 506: NONE
The following claims were either incurred within 910 days before the petition date and are secured by a purchase
money security interest in a motor vehicle acquired for the personal use of the debtor(s), or incurred within one year
of the petition date and secured by a purchase money security interest in any other thing of value:

 Name of Creditor         Collateral         Interest       Amount of Claim       Total to be Paid through the Plan
                                               Rate                               Including Interest Calculation
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  d. Requests for valuation of security, Cram-down, Strip Off & Interest Rate Adjustments             NONE

   1.) The debtor values collateral as indicated below. If the claim may be modified under Section 1322(b)(2), the
secured creditor shall be paid the amount listed as the “Value of the Creditor Interest in Collateral,” plus interest as
stated. The portion of any allowed claim that exceeds that value shall be treated as an unsecured claim. If a secured
claim is identified as having “NO VALUE” it shall be treated as an unsecured claim.

                               NOTE: A modification under this Section ALSO REQUIRES
                            the appropriate motion to be filed under Section 7 of the Plan.
Creditor     Collateral       Scheduled      Total          Superior Liens     Value of     Annual             Total
                              Debt           Collateral                        Creditor     Interest           Amount
                                             Value                             Interest in  Rate               to be Paid
                                                                               Collateral




2.) Where the Debtor retains collateral and completes the Plan, payment of the full amount of the allowed secured
claim shall discharge the corresponding lien.



   e. Surrender    NONE
   Upon confirmation, the stay is terminated as to surrendered collateral only under 11 U.S.C. 362(a) and that the
  stay under 11 U.S.C 1301 be terminated in all respects. The Debtor surrenders the following collateral:
Creditor                       Collateral to be Surrendered        Value of Surrendered      Remaining Unsecured
                                                                   Collateral                Debt

NewRez LLC                       Residence:                          $504,000.00                 $0
d/b/a Shellpoint Mortgage        633 State Route 94 S.
Servicing                        Fredon, NJ



    f. Secured Claims Unaffected by the Plan     NONE

      The following secured claims are unaffected by the Plan:
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g. Secured Claims to be Paid in Full Through the Plan:    NONE

Creditor                               Collateral                          Total Amount to be Paid Through the
                                                                           Plan



Part 5: Unsecured Claims        NONE
  a. Not separately classified allowed non-priority unsecured claims shall be paid:
        Not less than $ _______________ to be distributed pro rata
        Not less than 100 percent
       Pro Rata distribution from any remaining funds

  b. Separately classified unsecured claims shall be treated as follows:
Creditor                          Basis for Separate Classification      Treatment      Amount to be Paid




Part 6: Executory Contracts and Unexpired Leases          NONE
  (NOTE: See time limitations set forth in 11 U.S.C. 365(d)(4) that may prevent assumption of non-residential real
property leases in this Plan.)

  All executory contracts and unexpired leases, not previously rejected by operation of law, are rejected, except
the following, which are assumed:
Creditor         Arrears to be Cured in     Nature of Contract or      Treatment by Debtor        Post-Petition
                 Plan                       Lease                                                 Payment
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Part 7: Motions      NONE
NOTE: All plans containing motions must be served on all affected lienholders, together with local form, Notice
of Chapter 13 Plan Transmittal, within the time and in the manner set forth in D.N.J. LBR 3015-1. A Certification of
Service, Notice of Chapter 13 Plan Transmittal and valuation must be filed with the Clerk of Court when the plan
and transmittal notice are served.

  a. Motion to Avoid Liens Under 11. U.S.C. Section 522(f).   NONE

  The Debtor moves to avoid the following liens that impair exemptions:

Creditor      Nature of      Type of Lien    Amount of     Value of       Amount of     Sum of All     Amount of
              Collateral                     Lien          Collateral     Claimed       Other Liens    Lien to be
                                                                          Exemption     Against the    Avoided
                                                                                        Property




  b. Motion to Avoid Liens and Reclassify Claim from Secured to Completely Unsecured.          NONE

  The Debtor moves to reclassify the following claims as unsecured and to void liens on collateral consistent with
Part 4 above:
Creditor       Collateral        Scheduled         Total           Superior Liens Value of            Total Amount
                                 Debt              Collateral                        Creditor’s       of Lien to be
                                                   Value                             Interest in      Reclassified
                                                                                     Collateral
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   c. Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and Partially
Unsecured.    NONE

    The Debtor moves to reclassify the following claims as partially secured and partially unsecured, and to void
liens on collateral consistent with Part 4 above:
Creditor            Collateral Scheduled          Total            Amount to be             Amount to be Reclassified
                                 Debt             Collateral       Deemed Secured           as Unsecured
                                                  Value




Part 8: Other Plan Provisions
  a. Vesting of Property of the Estate
        Upon confirmation

       Upon discharge

  b. Payment Notices
   Creditors and Lessors provided for in Parts 4, 6 or 7 may continue to mail customary notices or coupons to the
Debtor notwithstanding the automatic stay.

  c. Order of Distribution
  The Standing Trustee shall pay allowed claims in the following order:
  1) Ch. 13 Standing Trustee commissions
  2) DSO Obligations                           5) Secured Claims
  3) Attorney Fees                             6) Priority Claims
  4) Lease Arrearages                          7) General Unsecured Creditors

d. Post-Petition Claims
  The Standing Trustee     is,   is not authorized to pay post-petition claims filed pursuant to 11 U.S.C. Section
1305(a) in the amount filed by the post-petition claimant.
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Part 9: Modification    NONE
   NOTE: Modification of a plan does not require that a separate motion be filed. A modified plan must be
served in accordance with D.N.J. LBR 3015-2.

  If this Plan modifies a Plan previously filed in this case, complete the information below.

  Date of Plan being modified: May 11, 2022.
Explain below why the plan is being modified:               Explain below how the plan is being modified:

Mortgage Company rejected loan modification.               Debtor is surrendering collateral.




Are Schedules I and J being filed simultaneously with this Modified Plan?          Yes          No

Part 10: Non-Standard Provision(s): Signatures Required

   Non-Standard Provisions Requiring Separate Signatures:

      NONE

      Explain here:




Any non-standard provisions placed elsewhere in this plan are ineffective.
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Signatures
The Debtor(s) and the attorney for the Debtor(s), if any, must sign this Plan.

By signing and filing this document, the debtor(s), if not represented by an attorney, or the attorney for the
debtor(S) certify that the wording and order of the provisions in this Chapter 13 Plan are identical to Local Form,
Chapter 13 Plan and Motions, other than any non-standard provisions include Part 10.


I certify under penalty of perjury that the above is true.


Date: 08/09/2022_ ___________________             /s/Jack H. Sandau________________
                                                  Jack H. Sandau, Debtor



Date: 08/09/2022_____________________              /s/Dean G. Sutton _______________
                                                  Attorney for the Debtor
